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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 29, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service lists attached hereto as Exhibit B and Exhibit
C:

    •    Debtors' Second Motion to Extend the Debtors' Exclusive Periods to File and Solicit
         Votes on a Chapter 11 Plan [Docket No. 935]

Dated: January 31, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                                                                         Core/2002 Service List
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                Description                               CreditorName                       CreditorNoticeName                             Email
                                                                                                                          daniel.guyder@allenovery.com;
                                                                                                                          bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                                    chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                                  Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                                 Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                          Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
 Co., Ltd. (a/k/a Hon Hai Technology
 Group), Foxconn EV Technology, Inc.,                                                                                     noah.brumfield@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Noah Brumfield, Patrick Pearsall,   patrick.pearsall@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                          Michael Modesto Gale                michael.modestogale@allenovery.com
 Counsel to Applied Medical Resources
 Corp.                                     Austria Legal, LLC                         Matthew P. Austria                  maustria@austriallc.com
 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.                Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.          dba Trans Machine Technologies      Barry@trans-machine.com
 Counsel to Edward Hightower and Adam Benesch Friedlander Coplan &                    Jennifer R. Hoover, Steven L.       jhoover@Beneschlaw.com;
 Kroll                                     Aronoff LLP                                Walsh                               swalsh@Beneschlaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                    greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &                Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                Jeroen van Kwawegen, Thomas         jeroen@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &                G. James, Margaret Sanborn-         Thomas.James@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 Lowing                              Margaret.Lowing@blbglaw.com
 Counsel to the Official Committee of                                                 Matthew A. Sawyer, Sharon I.        msawyer@brownrudnick.com;
 Equity Security Holders                   Brown Rudnick LLP                          Dwoskin                             sdwoskin@brownrudnick.com
                                                                                                                          rstark@brownrudnick.com;
 Counsel to the Official Committee of                                                Robert J. Stark, Bennett S.          bsilverberg@brownrudnick.com;
 Equity Security Holders                       Brown Rudnick LLP                     Silverberg, Michael S. Winograd      mwinograd@brownrudnick.com
 Counsel to Oracle America, Inc.               Buchalter, A Professional Corporation Shawn M. Christianson, Esq.          schristianson@buchalter.com
 Counsel to Cigna Health and Life
 Insurance Company                             Connolly Gallagher LLP                 Jeffrey C. Wisler                   jwisler@connollygallagher.com
 Official Committee of Equity Security
 Holders                                       Crestline Management, L.P.             Attn: Shaun McGowan                 summitcompliance@crestlineinc.com
 Bankruptcy Counsel to the to the
 Securities Litigation Lead Plaintiff George
 Troicky                                       Cross & Simon, LLC                     Christopher P. Simon, Esq.          csimon@crosslaw.com
                                                                                                                          attorney.general@state.de.us;
 Delaware State AG and DOJ                     Delaware Dept of Justice            Attorney General                       attorney.general@delaware.gov
 DE Secretary of State                         Delaware Secretary of State         Division of Corporations               dosdoc_bankruptcy@state.de.us
 DE State Treasury                             Delaware State Treasury                                                    statetreasurer@state.de.us
 Counsel to Oracle America, Inc.               Doshi Legal Group, P.C.             Amish R. Doshi, Esq.                   amish@doshilegal.com
 Official Committee of Equity Security         Esopus Creek Value Series Fund LP -
 Holders                                       Series “A”                          Attn: Andrew L. Sole                  andrewsole@ecvlp.com
                                                                                                                         citizenservices@myfloridalegal.com;
 Attorney General of FL (emp operations)       Florida Attorney General               Attn Bankruptcy Department         oag.civil.eserve@myfloridalegal.com
                                                                                      Attention: Jerry Hsiao and Steven jerry.hsiao@foxconn.com;
 Foxconn                                       Foxconn EV Technology, Inc.            Yu                                 stevenyu@foxconn.com
                                                                                      c/o Hon Hai Precision Industry
 Foxconn                                       Foxconn Ventures Ptd. Ltd.             Co., Ltd. Attn Jerry Hsiao         jerry.hsiao@Foxconn.com
 Counsel to Marelli North America, Inc.        Frost Brown Todd LLP                   A.J. Webb, Esq                     awebb@fbtlaw.com
 Counsel to Akebono Brake Corporation          Frost Brown Todd LLP                   Edward M. King                     tking@fbtlaw.com
 Counsel to Marelli North America, Inc.        Frost Brown Todd LLP                   Patricia K. Burgess                pburgess@fbtlaw.com
 Attorney General of GA (emp operations)       Georgia Attorney General               Attn Bankruptcy Department         Agcarr@law.ga.gov
 Foxconn                                       Hon Hai Precision Industry Co., Ltd    Attention Jerry Hsiao              jerry.hsiao@Foxconn.com
 Attorney General of IL (emp operations)       Illinois Attorney General              Attn Bankruptcy Department         bankruptcy_notices@ilag.gov
 IRS                                           Internal Revenue Service               Attn Susanne Larson                SBSE.Insolvency.Balt@irs.gov
                                                                                                                         bruce@katten.com;
                                                                                      Bruce G. Vanyo, Sarah              sarah.eichenberger@katten.com;
 Co-Counsel to Edward Hightower and                                                   Eichenberger, Jonathan             jonathan.rotenberg@katten.com;
 Adam Kroll                                  Katten Muchin Rosenman LLP               Rotenberg, Cindi M. Giglio         cgiglio@katten.com
 Bankruptcy Counsel to the to the                                                                                        metkin@lowenstein.com;
 Securities Litigation Lead Plaintiff George                                          Michael S. Etkin, Esq., Andrew     abehlmann@lowenstein.com;
 Troicky                                     Lowenstein Sandler LLP                   Behlmann, Esq.,Scott Cargill, Esq. scargill@lowenstein.com
 Financial Advisor to the Official
 Committee of Equity Security Holders        M3 Advisory Partners                     Robert Winning                      rwinning@m3-partners.com




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                                                                    Core/2002 Service List
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                Description                           CreditorName                         CreditorNoticeName                              Email
 Attorney General of MI (business
 operations)                               Michigan Attorney General                Attn Bankruptcy Department          miag@michigan.gov
 Counsel to Michigan Department of                                                  Heather L. Donald, Assistant
 Treasury                                  Michigan Department of Treasury          Attorney General                    donaldh@michigan.gov
 Counsel to GAC R&D Center Silicon         Miller, Canfield, Paddock and Stone,
 Valley, Inc.                              P.L.C.                                   Marc N. Swanson                 swansonm@millercanfield.com
 Counsel to the Official Committee of                                                                               emonzo@morrisjames.com;
 Equity Security Holders                   Morris James LLP                         Eric J. Monzo, Brya M. Keilson  bkeilson@morrisjames.com
                                                                                                                    rdehney@morrisnichols.com;
                                                                                    Robert J. Dehney, Matthew B.    mharvey@morrisnichols.com;
                                                                                    Harvey, Matthew O. Talmo, Donna mtalmo@morrisnichols.com;
 Counsel to Foxconn                        Morris, Nichols, Arsht & Tunnell LLP     L. Culver                       dculver@morrisnichols.com
 Attorney General of NC (emp operations) North Carolina Attorney General            Attn Bankruptcy Department      ncago@ncdoj.gov
                                           Office of the United States Trustee                                      USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE             Delaware                                 Benjamin Hackman                benjamin.a.hackman@usdoj.gov
 Attorney General of OH (business
 operations)                               Ohio Attorney General                Attn Bankruptcy Department              trish.lazich@ohioattorneygeneral.gov
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly
 situated stockholders of Lordstown Motors
 Corp. f/k/a DiamondPeak Holdings Corp. Pashman Stein Walder Hayden, P.C. Joseph C. Barsalona II                        jbarsalona@pashmanstein.com
                                                                                                                        mikehuang@paulhastings.com;
 Counsel to Foxconn                        Paul Hastings LLP                        Mike Huang, Kevin P. Broughel       kevinbroughel@paulhastings.com
 Attorney General of PA (emp operations) Pennsylvania Attorney General              Attn Bankruptcy Department          info@attorneygeneral.gov
 Official Committee of Equity Security
 Holders                                   Pertento Partners LLP                    Attn: Ian Trundle                   ian@pertento.com
 Counsel to Logicalis, Inc.                Polsinelli PC                            Christopher A. Ward                 cward@polsinelli.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                  gfbruckner@pomlaw.com;
 situated stockholders of Lordstown Motors                                          Gustavo F. Bruckner, Samuel J.      sjadams@pomlaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Pomerantz LLP                               Adams, Ankita Sangwan               asangwan@pomlaw.com
 Top 30 and Committee of Unsecured
 Creditors                                 SA Automotive LTD                        Shar Hedayat                        Shar.Hedayat@saautomotive.com
 Committee of Unsecured Creditors          SA Automotive Ltd.                       Attn: Katherine Diederich           katherine.diederich@aesseinvltd.com
 Counsel to Harco Manufacturing Group,
 LLC                                       Saul Ewing LLP                           Evan T. Miller                     evan.miller@saul.com
                                                                                                                       bankruptcynoticeschr@sec.gov;
 SEC Regional Office                       Securities & Exchange Commission         NY Regional Office                 nyrobankruptcy@sec.gov
 SEC Regional Office                       Securities & Exchange Commission         PA Regional Office                 philadelphia@sec.gov
                                                                                                                       SECBankruptcy-OGC-ADO@SEC.GOV;
 SEC Headquarters                          Securities & Exchange Commission         Secretary of the Treasury          secbankruptcy@sec.gov
                                           Skadden, Arps, Slate, Meagher &          Joseph O. Larkin, Esq., Stephen J. Joseph.Larkin@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                                 Della Penna, Esq.                  stephen.dellapenna@skadden.com
                                           Skadden, Arps, Slate, Meagher &
 Counsel to LAS Capital LLC                Flom LLP                                 Robert D. Drain, Esq.               Robert.Drain@skadden.com
                                           Skadden, Arps, Slate, Meagher &          Ron E. Meisler, Esq., Jennifer      Ron.Meisler@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                                 Madden, Esq.                        Jennifer.Madden@Skadden.com
 Counsel to Applied Medical Resources
 Corp.                                     Snell & Wilmer L.L.P.                    Andrew B. Still                     astill@swlaw.com
 Counsel to Elaphe Propulsion
 Technologies Ltd.                         Sullivan Hazeltine Allinson LLC          William A. Hazeltine                whazeltine@sha-llc.com
 Top 30 and Committee of Unsecured                                                                                      jbasso@diversifiedtoolinggroup.com;
 Creditors                                 Superior Cam Inc                         John Basso                          jmbasso@diversifiedtoolinggroup.com
                                                                                                                        bankruptcytax@oag.texas.gov;
 Attorney General of TX (emp operations)   Texas Attorney General                   Attn Bankruptcy Department          communications@oag.texas.gov
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders         David M. Fournier, Tori L.          david.fournier@troutman.com;
 Unsecured Creditors                       LLP                                      Remington                           tori.remington@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Deborah Kovsky-Apap                 deborah.kovsky@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Francis J. Lawall                   francis.lawall@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Sean P. McNally                     sean.mcnally@troutman.com
 US Attorney for District of Delaware      US Attorney for District of Delaware     US Attorney for Delaware            usade.ecfbankruptcy@usdoj.gov
 Counsel to Elaphe Propulsion
 Technologies, Ltd                         Warner Norcross + Judd LLP               Stephen B. Grow                     sgrow@wnj.com
 Co-Counsel for the Debtors and Debtors-
 in-Possession                             White & Case LLP                         David M. Turetsky                   david.turetsky@whitecase.com




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                                                               Core/2002 Service List
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               Description                         CreditorName                    CreditorNoticeName                     Email
 Co-Counsel for the Debtors and Debtors-
 in-Possession                           White & Case LLP                   Jason N. Zakia                 jzakia@whitecase.com
                                                                                                           rkampfner@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                    Roberto Kampfner, Doah Kim, RJ doah.kim@whitecase.com;
 in-Possession                           White & Case LLP                   Szuba                          rj.szuba@whitecase.com
                                                                                                           tlauria@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                    Thomas E Lauria, Matthew C.    mbrown@whitecase.com;
 in-Possession                           White & Case LLP                   Brown, Fan B. He               fhe@whitecase.com
 Local Co-Counsel for the Debtors and                                       Donald J. Detweiler, Morgan L. don.detweiler@wbd-us.com;
 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP     Patterson                      morgan.patterson@wbd-us.com
                                                                                                           bankfilings@ycst.com;
 Counsel to Darren Post, Steve Burns,   Young Conaway Stargatt & Taylor,                                   sbeach@ycst.com;
 John LaFleur, and Rich Schmidt         LLP                                 Sean M. Beach, Shane Reil      sreil@ycst.com




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              Description                    CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip         Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Carvel State Building 820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Cayman Islands
                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
                                                                                                                                 Grand Pavilion,            802 West Bay
  Foxconn                              Foxteq Holdings Inc.                                               P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Cayman Islands
                                                                                                                                 Grand Pavilion,            802 West Bay
  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Cayman Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
  Attorney General of IL (emp
  operations)                          Illinois Attorney General         Attn Bankruptcy Department       James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
  IRS                                  Internal Revenue Service          Attn Susanne Larson              31 Hopkins Plz Rm 1150                                               Baltimore         MD    21201
                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                        PO Box 7346                                                          Philadelphia      PA    19101-7346
  Financial Advisor to the Official
  Committee of Equity Security                                                                            1700 Broadway, 19th
  Holders                              M3 Advisory Partners              Robert Winning                   Floor                                                                New York          NY    10019
  Attorney General of MI (business                                                                        G. Mennen Williams
  operations)                          Michigan Attorney General         Attn Bankruptcy Department       Building                    525 W. Ottawa St.     P.O. Box 30212     Lansing           MI    48909
  Attorney General of NC (emp
  operations)                          North Carolina Attorney General Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
                                       Office of the United States
  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
  Attorney General of OH (business
  operations)                          Ohio Attorney General             Attn Bankruptcy Department    30 E. Broad St. 14th Fl                                                 Columbus          OH    43215-0410
  Counsel to Foxconn                   Paul Hastings LLP                 Mike Huang, Kevin P. Broughel 200 Park Avenue                                                         New York          NY    10166
  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      United Kingdom
  Top 30 and Committee of
  Unsecured Creditors                  SA Automotive LTD                 Shar Hedayat                     1307 Highview Dr                                                     Webberville       MI    48892




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              Description                    CreditorName              CreditorNoticeName              Address1                  Address2              Address3           City      State     Zip      Country
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich      1307 Highview Drive                                                  Webberville    MI    48892
                                   Securities & Exchange                                                                    100 Pearl St., Suite
  SEC Regional Office              Commission                    NY Regional Office             Regional Director           20-100                                   New York       NY    10004-2616
                                   Securities & Exchange                                                                                           1617 JFK
  SEC Regional Office              Commission                    PA Regional Office             Regional Director           One Penn Center        Boulevard Ste 520 Philadelphia   PA    19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury      100 F St NE                                                          Washington     DC    20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                     31240 Stephenson Hwy                                                 Madison Heights MI   48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department     300 W. 15th St                                                       Austin         TX    78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware       1313 N Market Street        Hercules Building                        Wilmington     DE    19801




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                    Exhibit C
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                                                                    Exhibit C
                                                             Lienholders Service List
                                                            Served via First Class Mail

                                    CreditorName                     Address1                  City  State     Zip
                           COMPETITION ENGINEERING, INC     975 COMSTOCK STREET             MARNE    MI    49435-8751
                           HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                           SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                           PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                           PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341




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